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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

Thaddius Intravaia and Steven Marvik, individually
and as representatives of a class of similarly situated         Case No. 1:19-cv-00973-LO-IDD
persons, and on behalf of the 401(k) Pension Plan,


                Plaintiffs,

                                                               AMENDED CLASS ACTION
v.                                                                 COMPLAINT


National Rural Electric Cooperative Association and
the Insurance and Financial Services Committee,


             Defendants.



                                  NATURE OF THE ACTION

       1.      Plaintiffs Thaddius Intravaia and Steven Marvik (“Plaintiffs”), as representatives

of the Class described herein, and on behalf of the 401(k) Pension Plan (the “Plan”), bring this

action under the Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. §

1001, et seq. (“ERISA”), against Defendants National Rural Electric Cooperative Association

(NRECA) and the Insurance and Financial Services Committee (the “Committee”), the Plan’s

fiduciaries. As described herein, Defendants have breached their fiduciary duties and engaged in

prohibited transactions with respect to the Plan in violation of ERISA, to the detriment of the

Plan and its participants. Plaintiffs bring this action to remedy this unlawful conduct, prevent

further mismanagement of the Plan, and obtain equitable and other relief as provided by ERISA.




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                                 PRELIMINARY STATEMENT

        2.      NRECA is a national service organization that represents over 1,000 rural electric

cooperatives around the United States. One of NRECA’s primary functions is to administer three

ERISA plans covering member cooperatives’ employees—a health and welfare plan, a

traditional pension plan, and the Plan, the latter of which is the subject of this suit.

        3.      ERISA imposes strict fiduciary duties of loyalty and prudence upon retirement

plan fiduciaries. 29 U.S.C. § 1104(a)(1). These twin fiduciary duties are “the highest known to

the law.” Tatum v. RJR Pension Investment Committee, 761 F.3d 346, 358 (4th Cir. 2014).

Fiduciaries must act “solely in the interest of the participants and beneficiaries.” 29 U.S.C. §

1104(a)(1), and exercise “care, skill, prudence, and diligence” in carrying out their fiduciary

functions.

        4.      Defendants have not managed the Plan in a prudent and loyal manner. Instead,

Defendants (1) failed to prudently monitor and control Plan administrative costs in the interests

of Plan participants; (2) appropriated the extra fees from the Plan for their own benefit; and (3)

diverted monies from the Plan to subsidize other expenses of NRECA and its member

employers.

        5.      The Plan is a defined contribution retirement plan, which means that participants’

benefits are limited to their account contributions and investment returns, less expenses. See

Tibble v. Edison, 135 S.Ct. 1823, 1825 (2015). According to the Department of Labor, plan

expenses have a “substantial[]” impact on participants’ retirement income. See DEP’T OF LABOR,




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A Look at 401(k) Plan Fees, 1–2 (Aug. 2013) (“[F]ees and expenses paid by your plan may

substantially reduce the growth in your account which will reduce your retirement income.”).1

       6.      The Plan’s administrative costs are grossly excessive. The Plan is one of the 75

largest defined contribution plans in the United States (out of more than 650,000). As a result,

Defendants have access to the most competitive pricing and services in the marketplace. While

fiduciaries of similarly-sized plans typically incur administrative expenses well under $100 per

participant, the Plan’s administrative costs are wildly out of scale at more than $400 per

participant.

       7.      The problem is also getting worse with time. The Plan’s administrative costs have

increased each year since 2013, and the 20172 rate of $404 per participant is a 50% surge from

the 2013 rate. Based on trends in the overall marketplace, the Plan’s administrative costs should

have decreased on a per-participant basis during this time. Further, the growth within the Plan

provided significant opportunities for Defendants to reduce the Plan’s administrative expenses.

Yet, Defendants failed to take measures to reduce the Plan’s expenses consistent with other

retirement plan fiduciaries and marketplace trends, failed to leverage the Plan’s size, and failed

to advance the interest of participants, causing the Plan to pay unreasonable administrative fees.

       8.      It is no wonder that Defendants have failed to prudently control the Plan’s

expenses: the primary beneficiary of the Plan’s exorbitant administrative costs is NRECA.

Defendants have extracted an increasing amount of revenue for NRECA from the Plan each year

since 2013. NRECA took in $14.2 million from the Plan in 2013, $15.8 million in 2014, $17.0

million in 2015, $19.0 million in 2016, and $20.9 million in 2017. Defendants’ incentive to

1
     Available     at     www.dol.gov/sites/default/files/ebsa/about-ebsa/our-activities/resource-
center/publications/a-look-at-401k-plan-fees.pdf (last visited July 25, 2019) (hereinafter “DOL
Fees”).
2
  The most recent expense reports filed by the Plan contain data through the end of 2017.

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increase revenue for NRECA is at odds with their duty to administer the Plan in a loyal and cost-

conscious manner. The rising fees paid to NRECA in recent years shows that Defendants have

been corrupted by their conflict.

       9.      Defendants also improperly used the Plan to subsidize costs of NRECA’s overall

benefits program. As a defined contribution plan, the Plan is distinct from NRECA’s traditional

pension and health and welfare plans, in which participants are promised certain benefits, and

NRECA’s member employers are financially obliged to underwrite those benefits. See Hughes

Aircraft Co. v. Jacobson, 525 U.S. 432, 440 (1999) (a sponsor must “make up any shortfall” in

traditional defined benefit retirement plans); Varity Corp. v. Howe, 516 U.S. 489, 493 (1996)

(sponsor liable for a scheme to avoid its “obligation to pay … employees their [welfare]

benefits”). This funding distinction incentivizes Defendants to shift more shared costs to the

Plan, thereby minimizing the financial liabilities incurred by NRECA’s member employers

related to the administration of the traditional pension and health and welfare plans.

       10.     That is precisely what Defendants have done since 2013. During this time, the

revenue NRECA extracted from the Plan increased by at least 32%, whereas NRECA’s in-house

charges to other plans decreased or remained around the same. As a result, around half of the

fees that NRECA withdrew from its benefits program in 2017 came from the Plan, up from only

36% in 2013. Likewise, Defendants have increasingly allocated outside vendor charges to the

Plan. The Plan paid $4.3 million to outside vendors that also served other NRECA benefit plans

in 2017, up from $1.8 million in 2013. Plan participants have the right to a fiduciary focused

solely on their interests and defraying costs debited against their retirement savings. Defendants

have not met their basic obligations in this regard.




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       11.     As a result of Defendants’ mismanagement of the Plan and failure to control Plan

costs, the Plan has suffered millions of dollars in losses through excessive and inappropriate fees.

Based on this conduct, Plaintiffs assert ERISA claims against Defendants for breach of their

fiduciary duties (Count I), prohibited transactions with a party in interest (Count II), prohibited

transactions with a fiduciary (Count III), failure to monitor fiduciaries (Count IV), and co-

fiduciary liability under ERISA (Count V).

                                 JURISDICTION AND VENUE

       12.     Plaintiffs bring this action pursuant to 29 U.S.C. § 1132(a)(2) and (3), which

provide, among other things, that participants in a an employer-sponsored retirement plan may

pursue a civil action to redress violations of ERISA, recover losses resulting from a fiduciary

breach, restore profits made by fiduciary self-dealing, and obtain appropriate equitable relief, as

set forth in 29 U.S.C. §§ 1109 and 1132.

       13.     This case presents federal questions under ERISA, and therefore this Court has

subject matter jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 1132(e)(1).

       14.     Venue is proper pursuant to 29 U.S.C. § 1132(e)(2) and 28 U.S.C. § 1391(b)

because the Plan is administered in this district.

                                          THE PARTIES

                                            PLAINTIFFS

       15.     Plaintiff Thaddius Intravaia resides in Greenville, Illinois, is a current participant

in the Plan, and has been a Plan participant since 2016. Plaintiff Intravaia was charged a pro rata

share of Plan fees through his Plan account. Plaintiff Intravaia’s Plan account would be worth

more today had Defendants not breached their fiduciary duties as described herein.




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       16.     Plaintiff Steven Marvik resides in Gig Harbor, Washington, is a current

participant in the Plan, and has been a Plan participant since 1979. Plaintiff Marvik has been

charged a pro rata share of Plan fees through his Plan account. Plaintiff Marvik’s Plan account

would be worth more today had Defendants not breached their fiduciary duties as described

herein by imposing excessive charges on Marvik’s and other participants’ accounts.

                                           THE PLAN

       17.     The Plan is an “employee pension benefit plan” within the meaning of 29 U.S.C.

§ 1002(2)(A) and a “defined contribution plan” within the meaning of 29 U.S.C. § 1002(34). The

Plan is also a “plan maintained by more than one employer” within the meaning of 26 U.S.C. §

413(c), commonly referred to as a “multiple employer plan” or “MEP”.

       18.     The Plan covers eligible employees of participating member cooperatives of

NRECA. Participants contribute to their accounts through salary deferrals, and also may receive

contributions from their employer.

       19.     As of the end of 2017, the Plan had $10.4 billion in assets, 66,587 participants

with account balances, and 886 participating cooperatives. The Plan is one of the largest defined

contribution plans in the United States. As of the end of 2017, the Plan ranked 49th in assets and

73rd in participants with balances (out of more than 650,000 defined contribution plans).

                                          DEFENDANTS
NRECA

       20.     NRECA is a national cooperative service organization based in Arlington,

Virginia that represents more than 1,000 member electric cooperatives throughout the United

States. In addition to its employee benefits program, NRECA provides lobbying services,

regulatory guidance, and employee training to member employers and their employees.



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       21.     The business and affairs of NRECA are managed under the direction of its Board

of Directors, who has authority over NRECA’s employees (including appointment of its CEO),

its budget, and its duties. Every member of the Board of Directors and its individual officers are

elected by member cooperatives. All amendments to the bylaws must also be approved by the

member cooperatives. Given this governance structure, NRECA acts not only to serve its own

financial interests as a national cooperative, but also the financial interests of member

cooperatives, upon whom NRECA and its employees depend for their compensation and

continued employment.

       22.     NRECA is the “plan sponsor” of the Plan within the meaning of 29 U.S.C. §

1002(16)(B). Through its Board of Directors, NRECA organized the Committee, appointed the

Committee to be a named fiduciary of the Plan (see infra, ¶ 23), and appoints individual

members of the Committee. NRECA is responsible for ongoing oversight of the Committee and

its members, and has authority to remove the Committee from its position with regard to the

Plan, or to remove individual Committee members from the Committee. Based on these duties,

NRECA “exercises … discretionary authority or discretionary control respecting the

management” of the Plan, and “has any discretionary authority or discretionary responsibility in

the administration” of the Plan, and therefore acts as a fiduciary of the Plan under 29 U.S.C. §

1002(21)(A).

The Committee

       23.     The Committee is a named fiduciary of the Plan, as contemplated by 29 U.S.C. §

1102(a). The Committee has between five and ten individual members, including senior NRECA

officers. All of the Committee’s members are appointed by NRECA’s Board of Directors. The

Committee exercises overall fiduciary responsibility for selecting and monitoring the Plan’s



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service providers and administering the Plan. The Committee also appoints NRECA employees

to carry out specific administrative functions and monitors and oversees their work. Pursuant to

these duties, the Committee “exercises … discretionary authority or discretionary control

respecting the management” of the Plan, and “has any discretionary authority or discretionary

responsibility in the administration” of the Plan, and therefore also acts as a functional fiduciary

of the Plan under 29 U.S.C. § 1002(21)(A).

                                        BACKGROUND

         FIDUCIARY DUTIES AND COST CONTROL IN DEFINED CONTRIBUTION PLANS

      24.      As of September 2018, Americans had approximately $8.1 trillion in assets

invested in defined contribution plans, such as 401(k) and 403(b) plans.3 Defined contribution

plans are the primary retirement savings vehicle for many Americans, replacing defined benefit

plans predominant in previous generations.4

       25.     The potential for mismanagement and abuse is greater in defined contribution

plans than in defined benefit plans. In a defined benefit plan, each participant is entitled to a

fixed monthly payment, while the employer is responsible for making sure the plan is

sufficiently capitalized, and thus the employer bears all risks related to excessive fees. See

Hughes Aircraft Co., 525 U.S. at 439. As a result, the employer and the plan’s fiduciaries have

every incentive to keep costs low. But in a defined contribution plan, participants’ benefits “are

limited to the value of their own investment accounts, which is determined by the market

3
  See INVESTMENT COMPANY INSTITUTE, Defined Contribution Plan Participants’ Activities,
First        Three        Quarters         of       2018         (2019),        available         at
https://www.ici.org/pdf/ppr_18_rec_survey_q3.pdf (last visited July 25, 2019).
4
  See DEPT. OF LABOR, Private Pension Plans Bulletin, at 1 (Dec. 2018) (“The shift from defined
benefit (DB) to defined contribution (DC) plans has been ongoing over the past 40 years[.]”),
available      at    https://www.dol.gov/sites/default/files/ebsa/researchers/statistics/retirement-
bulletins/private-pension-plan-bulletins-abstract-2016.pdf (hereinafter “Plans Bulletin”) (last
visited July 25, 2019).

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performance of employee and employer contributions, less expenses.” Tibble, 135 S. Ct. at 1826.

Sponsors therefore do not have a direct incentive to keep costs low, as the consequences of high

fees are borne by participants.

       26.     The potential for abuse is particularly pronounced in MEPs. According to the

U.S. Government Accountability Office’s report on multiple employer plans:

       the potential for inadequate employer oversight of the MEP is greater because employers
       have passed along so much responsibility to the entity controlling the MEP. Labor
       officials noted that potential abuses might include layering of fees, misuse of the assets,
       or falsification of benefit statements.[] One pension expert agreed that there was potential
       for MEPs to charge excess fees without the enrolled employer being aware of those
       fees.[] While Labor officials acknowledged that single employer plans could be subject to
       similar abuses, they cautioned that MEPs’ structure and operation could make them
       particularly susceptible to such abuses.

GAO Report, at 22-23.

       27.     The duties of prudence and loyalty imposed by ERISA are critical protections for

defined contribution plan participants and MEP participants. Pursuant to ERISA, plan fiduciaries

obligated to act “solely in the interest of the participants … and[] for the exclusive purpose of[]

providing benefits to participants … and defraying the reasonable expenses of administering the

plan.” 29 U.S.C. § 1104(a)(1)(A). Fiduciaries also must act “with the care, skill, prudence, and

diligence” appropriate under the circumstances. 29 U.S.C. § 1104(a)(1)(B). These duties are

commonly described as “the duties of loyalty and prudence imposed by ERISA,” see Fifth Third

Bancorp. v. Dudenhoeffer, 573 U.S. 409, 413 (2014), and are among “the highest known to the

law.” Tatum, 761 F.3d at, 358.

       28.     Cost control is inherent in these fiduciary responsibilities. See Restatement

(Third) of Trusts § 88, cmt. a (2007) (“Implicit in a trustee’s fiduciary duties is a duty to be cost-

conscious.”). This includes a duty to monitor both the type of charges being incurred and their

amount. See id., cmt.b (after finding it proper to incur “a particular type of expense”, a trustee


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must further “exercise such care and skill as a person of ordinary prudence” in fixing the

expense).

       29.     Improper and excessive fees can significantly impair the value of a defined

contribution plan participant’s account. Over time, seemingly small differences in fees can result

in material differences in the amount of savings available at retirement.5 Industry observers have

recognized that a “fee of only a few basis points[6] could end up being excessive.”7

       30.     For this reason, numerous courts have emphasized the importance of fiduciary

cost control in defined contribution plans. See Tibble v. Edison Intl., 843 F.3d 1187, 1198 (9th

Cir. 2016) (“[A] trustee cannot ignore the power the trust wields to obtain … lower cost[s][.]”)

(remanding for further consideration of alleged breach); Tussey v. ABB, Inc., 746 F.3d 327, 336

(8th Cir. 2014) (failure to “adequately leverage the Plan’s size to reduce fees” supported

judgment against fiduciaries); George v. Kraft Foods Glob., Inc., 641 F.3d 786, 800 (7th Cir.

2011) (“[A] trier of fact could reasonably conclude that defendants did not satisfy their duty to

ensure that [vendor]’s fees were reasonable.”) (remanding for trial); Braden v. Wal-Mart Stores,

Inc., 588 F.3d 585, 595-96 (8th Cir. 2009) (fiduciary’s decision that resulted in “significantly

higher fees” was plausibly “tainted by failure of effort, competence, and loyalty”) (reversing

dismissal of complaint).

5
  See DEPT. OF LABOR, A Look at 401(k) Plan Fees, 1–2 (Aug. 2013) (“[F]ees and expenses paid
by your plan may substantially reduce the growth in your account which will reduce your
retirement income.”) (illustrating how fees of 1% will reduce retirement savings by 28% over
time),        available      at        https://www.dol.gov/sites/default/files/ebsa/about-ebsa/our-
activities/resource-center/publications/a-look-at-401k-plan-fees.pdf (last visited July 25, 2019)
(hereinafter “DOL Fees”).
6
  One basis point is equal to .01%, or 1/100th of a percent of assets under management. See
Investopedia,            Definition            of         ‘Basis            Point           (BPS)’,
http://www.investopedia.com/terms/b/basispoint.asp (last visited July 25, 2019).
7
    See SOCIETY FOR HUMAN RESOURCE MANAGEMENT, 401(k) Sponsors Focus on
Benchmarking—and           Lowering—Fees,         (Feb.     22,      2018),        available     at
https://www.shrm.org/resourcesandtools/hr-topics/benefits/pages/401k-fee-benchmarking.aspx
(hereinafter “SHRM Focus on Fees”) (last visited July 25, 2019).

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       31.     According to an annual survey of large and “mega” plan sponsors,8 reviewing

plan fees was their “most important step” taken in each of the last three years.9 Plan sponsors

also anticipate that plan fees will continue to be their primary focus over the next year.10

       32.     Consistent with this focus on fees, both overall fees and administrative fees have

declined in defined contribution plans over time. Annual plan filings with the Department of

Labor show that overall costs for defined contribution plans with more than $1 billion in assets

decreased by 22% percent between 2009 and 2016.11 Between 2016 and 2018, the Callan Trends

survey documented similar findings. Each year, at least 77% of sponsors reviewed plan costs,12

and each year, at least 36% reduced or rebated fees as a result of that review.13 Another survey

found that 83% of sponsors (of plans with average assets of $1.1 billion in assets) re-contracted




8
  The 401(k) marketplace is segmented by size. There is some fluidity in terms, but “large” plans
typically have $100 million in assets or more, and “mega” plans have $500 million to $1 billion
in assets or more. See CALLAN INSTITUTE, Defined Contribution Trends (2019), at 4, available at
https://www.callan.com/wp-content/uploads/2019/01/Callan-2019-DC-Trends-Survey.pdf (last
visited July 25, 2019) (hereinafter “Callan Trends 2019”); See DELOITTE/INVESTMENT COMPANY
INSTITUTE, Inside the Structure of Defined Contribution/401(k) Plan Fees: A Study Assessing the
Mechanics of the ‘All-In” Fee (Nov. 2011), at 10 & Ex. 4, available at
https://www.ici.org/pdf/rpt_11_dc_401k_fee_study.pdf (last visited July 25, 2019) (hereinafter
“Deloitte/ICI Study”).
9
  See Callan Trends, at 2,4, 11
10
   Id., at 12.
11
     See BRIGHTSCOPE/INVESTMENT COMPANY INSTITUTE, The BrightScope/ICI Defined
Contribution Plan Profile: A Close Look at 401(k) Plans (June 2019), at 47 & Ex. 4.1, available
at https://www.ici.org/pdf/19_ppr_dcplan_profile_401k.pdf (last visited July 25, 2019)
(hereinafter “BrightScope/ICI Close Look”). This 2016 filing year is the most recent year that
has been comprehensively analyzed and reported consistent with methods used for the 2009 year.
12
   See Callan Trends 2019, at 41 (77.1% reviewed costs in the last year); CALLAN INSTITUTE,
Defined Contribution Trends (2018), at 43 (83.1%), available at https://www.callan.com/wp-
content/uploads/2018/01/Callan-2018-DC-Survey.pdf (last visited July 25, 2019) (hereinafter
“Callan Trends 2018”); CALLAN INSTITUTE, Defined Contribution Trends (2017), at 43 (78.8%),
available at https://www.callan.com/wp-content/uploads/2018/01/Callan-2017-DC-Survey.pdf
(last visited July 25, 2019) (hereinafter “Callan Trends 2017”);
13
   See Callan Trends 2019, at 43 (37.3% reduced or rebated fees in the last year); Callan Trends,
2018, at 45 (47.7%); Callan Trends 2017, at 45 (39.8%).

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their plan’s core administrative services between 2014 and 2017.14 This corresponded to a 16%

decrease in the median cost of those services.15

       33.     As costs decrease, plans are also changing how they charge participants for

administrative services. Administrative expenses (e.g., recordkeeping fees, trustee fees,

professional fees, consulting fees, etc.) “can be levied based on the number of participants, the

amount of assets, or as a fixed dollar amount for the plan as a whole.”16 An increasing majority

of plans charge administrative expenses to participant accounts through an explicit per

participant fee (e.g., $50 annually per participant), rather than a percentage of assets.17

       34.     Although an asset-based charge or other arrangement can be permissible if

properly evaluated and adjusted based on actual costs,18 an explicit per participant charge for

administrative services better corresponds to how administrative costs are accrued. Studies of

defined contribution plan expenses have consistently observed that administrative costs are

largely a function of the number of participants, and bear little or no relationship to asset

values.19 Many sponsors therefore prefer an explicit per participant charge,20 which mitigates the


14
   See NEPC, 12th Annual Defined Contribution Plan and Fee Survey, at 2, 10, available at
https://www.youtube.com/watch?v=2BBTVYH_nfg&t=20s (00:25 et seq. & 15:25 et seq.)
(hereinafter “NEPC Survey”) (last visited July 25, 2019).
15
   Id.
16
   BrightScope/ICI Close Look, at 45.
17
   Callan Trends 2019, at 44 (63.8% charged explicit per participant fee in survey conducted fall
2018, compared to 54.7% in fall 2017).
18
   DOL Fees, at 3 (“Regardless of the arrangement used, fees need to be evaluated, keeping in
mind the cost of all covered services.”);
19
    See OFFICE OF POLICY RESEARCH, Final Report: Study of 401(k) Plan Fees and Expenses
(Apr. 13, 1998), at § 4.2.2 (identifying “six major considerations” that determine “appropriate
plan administration fees”; “number of plan participants” was a major factor, but total plan assets
was      not    a    factor),    available    at      https://www.dol.gov/sites/dolgov/files/legacy-
files/ebsa/researchers/analysis/retirement/study-of-401k-plan-fees-and-expenses.pdf (hereinafter
“OPR Report”) (last visited July 25, 2019); Deloitte/ICI Study, at 5 (“[N]umber of participants[]
was found to be a significant driver of a plan’s ‘all-in’ fee.”).
20
   See SOCIETY FOR HUMAN RESOURCE MANAGEMENT, 401(k) Plan Enhancements and Falling
Fees Linked to Richer Retirements (Feb. 5, 2019) (“Plan sponsors continue to negotiate fees

                                                   12
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peril of excessive fees (or insufficient fees) if asset values fluctuate out of step with factors, like

the number of plan participants, that are more closely aligned with actual costs.21

       35.     Another trend is that larger plans have lower rates of fees. There are several

reasons why larger plans pay lower rates. First, there are a limited number such plans,22 and

competition between service providers for their business is fierce.23 Second, certain costs are

fixed costs, so “[a]s a plan grows in size, those fixed costs can be spread over more participants

and a larger asset base,” lowering the rate of fees.24 Third, for variable costs, there are economies

of scale that reduce the cost of each additional participant account or each additional dollar

administered.25 Industry consultants, observers, and experts therefore expect that a prudently

managed plan’s rate of fees will decrease as the size of the plan increases.26




aggressively and prefer flat per-participants fees over asset-based fees.”) (quoting research
officer at 401(k) services firm), available at https://www.shrm.org/resourcesandtools/hr-
topics/benefits/pages/401k-enhancements-raise-savings-rates.aspx (hereinafter “SHRM Falling
Fees”) (last visited July 25, 2019); See DELOITTE, Defined Contribution Benchmarking Survey
(2017), at 21 (“This shift further illustrates how plan sponsors are evaluating their fiduciary
responsibility      as      they     look       at     reasonable      fees.”),     available     at
https://www2.deloitte.com/us/en/pages/human-capital/articles/annual-defined-contribution-
benchmarking-survey.html (hereinafter “Deloitte Benchmarking Survey”) (last visited July 25,
2019).
21
   See, e.g., Tussey v. ABB, Inc., 2012 WL 1113291, at *11 (W.D. Mo. Mar. 31, 2012) (asset-
based charged resulted in a 177% increase in fees per participant between 2002 and 2007,
whereas the reasonable rate based on actual costs would have decreased by 37% during the same
period), aff'd in relevant part, 746 F.3d 327 (8th Cir. 2014).
22
   See Plans Bulletin, at 11-12(at the largest end of the scale occupied by the Plan, only 164 plans
have more than 50,000 participants with balances, and only 291 have more than $2.5 billion in
assets, out of 656,241 total defined contribution plans).
23
   See OPR Report, at § 3.7 (“[C]ompetition makes the market for large corporation plans very
efficient.”)
24
   BrightScope/ICI Close Look, at 52.
25
   See OPR Report, at § 4.2.2 (“[T]here are significant economies of scale enjoyed by larger
plans.”).
26
   See Kraft Foods, 641 F.3d at 800 (consultant’s evidence showed that service provider “should
have offered a tiered pricing structure in which the per-participant cost went down as the number
of participants went up.”); SHRM Focus on Fees (“[C]osts … decreas[e] on a per-participant
basis for larger plans.”); Karla Terraza v. Safeway Inc., Case No. 16-CV-03994-JST (N.D. Cal.),
Expert Report of Roger L. Levy, ECF No. 158-2 (July 8, 2018), at 13 (“[F]or large plans …

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       36.     There are several measures that prudent and loyal fiduciaries take to control plan

costs. First, fiduciaries should regularly calculate and benchmark plan fees.27 Fiduciaries

typically use consultants or other outside sources to provide data on fees paid by similar plans.28

This data allows fiduciaries to assess the reasonableness of their own plan’s fees.29 Second,

prudent fiduciaries conduct competitive bidding for administrative services at regular intervals,

and additionally as the circumstances demand.30 Industry experts believe that competitive

bidding every 3-5 years as a matter of course is prudent, and also should be pursued

“immediately” if a fiduciary has reason to believe the plan is paying more than reasonable fees.31

                         DEFENDANTS’ VIOLATIONS OF ERISA

       37.     Defendants have violated ERISA in at least three ways. Defendants (1) failed to

prudently monitor and control Plan administrative costs in the interests of Plan participants; (2)

used the extra fees from the Plan for their own benefit; and (3) unfairly allocated fees and costs

to the Plan in a manner that subsidized other expenses of NRECA or its member employers.




recordkeeping expenses (which benefit from economies of scale) are typically cheaper on a per
participant basis.”) (hereinafter “Levy Report”).
27
   See Callan Trends 2019, at 42 (“Over four of five plan sponsors (83.3%) benchmarked the
level of plan fees as part of their fee calculation process [within that past 12 months].”).
28
   See id.
29
   See id.; Levy Report at 26 (fiduciaries should “avail themselves of one or more benchmarking
services to evaluate how their plan costs compare to other plans”) (hereinafter “Levy Report”).
30
   See OPR Report, at § 3.5 (“An important strategy for minimizing costs is to obtain competitive
bids from a number of 401(k) service providers.”)
31
   See Levy Report, at 14 (“[T]he minimum standard of care requires fiduciaries to engage in this
process every 3-4 years, depending on the facts and circumstances.”); id., at 23-24 (a fiduciary
should “immediately launch[] an investigation” to “establish the reasonable cost” of services if
the reasonable level of fees is in doubt); SHRM Falling Fees (“Plan sponsors should execute
RFPs every five years because ‘it’s going to lower your fees, in all likelihood.’”) (quoting
research officer at 401(k) services firm).

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 DEFENDANTS FAILED TO PRUDENTLY MONITOR AND CONTROL PLAN COSTS IN THE INTEREST
                             OF PLAN PARTICIPANTS

       38.     Defendants have not satisfied their duties of prudence and loyalty in regard to

monitoring and controlling Plan costs.

       39.     Since 2013, Defendants burdened the Plan with administrative expenses between

$265 per participant per year and $404 per participant per year. These amounts are unreasonably

high and inconsistent with the market for administrative services to defined contribution plans.

       40.     For example, the District of Colorado recently found that Oracle Corp. properly

reviewed cost benchmarking information from multiple sources before arriving at a reasonable

rate for core administrative services for its plan in 2012. See Troudt v. Oracle Corp., WL

1006019, at *7-*8 (D. Colo. Mar. 1, 2019). The rate was $30 per participant. See id. The Oracle

plan and the Plan had around the same number of participants in 2012 (59,762 and 61,963,

respectively) and at the end of 2017 (74,668 and 66,587, respectively). After adding reported

miscellaneous administrative expenses, the Oracle plan appears to have paid no more than $40

per participant since 2012, around 6-10 times less than the Plan paid during the same period.

       41.     Other case studies also show that typical administrative expenses for the largest

plans were far below what Defendants charged to the Plan. In a peer comparison of 19 large

plans with a median participant head count of 38,631, an industry consultant calculated the

median administrative cost in 2012 to be $56 per participant. See Terraza v. Safeway, Inc., Case

No. 16-cv-3994-JST, 2019 WL 1589979, at *2 (N.D. Cal. Apr. 12, 2019) (citing ECF 152-2).

The Plan was larger still, with 61,963 participants in 2012, but Defendants charged the Plan at

least 4 times more in administrative fees.

       42.     The plan that appears to be most similar to the Plan also shows that Defendants

imposed excessive costs. Like NRECA, the National Telecommunications Cooperative

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Association (NTCA) manages benefit plans for hundreds of member cooperatives and tens of

thousands of cooperative employees nationwide. NTCA also performs in-house administration

services for the benefits plans that it sponsors. Although it is not clear whether the NTCA 401(k)

plan is prudently managed, its administrative costs are nevertheless significantly less than the

Plan’s. Between 2013 and 2017, the NTCA 401(k) plan reported administrative expenses of

between $98 and $105 per participant, around 4 times less than the Plan in 2017.

          43.   The Plan’s excessive administrative costs became even more egregious with time,

as market costs declined, see e.g., Troudt, 2019 WL 1006019, at *7 (“[T]he per-participant costs

also decreased significantly [between 2010 and 2017].”), while the Plan’s costs rose over 50%

during the class period, see infra at ¶¶ 46-48.

          44.   Defendants deduct administrative fees from the Plan on a periodic basis (at least

as frequently as quarterly) based on the value of Plan assets. When a fiduciary chooses to

withdraw administrative fees as a percentage of Plan assets, it is the fiduciary’s duty to monitor

asset values and other relevant factors to ensure that an increase in Plan assets does not result in

excessive administrative charges. However, Defendants failed to discharge their duty in this

regard.

          45.   Since 2013, Defendants imprudently applied the same percentage rate to a rapidly

increasing asset base to draw administrative fees.32 The result was runaway administrative fees.



32
   Defendants do not identify an administrative expense ratio separate from investment
management expense ratios. Instead, a total expense ratio—the sum of administrative fees and
investment managements fees—is applied to all participant assets. Based on external data
regarding Plan investment managers’ typical fees and the total Plan administrative expenses
reported in the Plan’s annual reports, it appears that the Plan administrative expense ratio has
remained around 0.25% since 2013. In contrast, the median plan with more than $1 billion in
assets paid around 0.05% to 0.07% during the same time. See BrightScope/ICI Close Look, at 47
& n.46 (reporting median total plan expenses of 0.36% to 0.28% between 2009 and 2016 for

                                                  16
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        46.     As the following illustration shows, Plan asset growth has far outpaced growth to

the number of individual participants and participating cooperatives served by the Plan:

Illustration 1: Plan Assets, Participants, and Cooperatives

                                               Participants with
                      Plan Assets—Year                                    Contributing
                                              Account Balances—
                             End                                          Cooperatives
                                                   Year End
         2017          $10,420,200,539              66,587                     886
         2016          $8,824,851,510               64,755                     904
         2015          $8,142,091,182               64,638                     883
         2014          $8,091,121,413               62,967                     894
         2013          $7,566,831,528               62,484                    ≤ 930
         2012          $6,198,597,012               61,963                    ≤ 930

        47.     As reflected by the data, the Plan’s assets increased by 68% between the start of

2013 and the end of 2017, while the Plan’s participants increased by only 7% and the number of

participating cooperatives remained about the same or slightly decreased.33

        48.     Because Defendants did not appropriately adjust the administrative expense ratio

to account for these changes in the Plan, the Plan paid significantly more in fees each year on an

absolute basis, per participant basis, and a per cooperative basis, as shown by the next

illustration:




billion dollar plans, and citing a similar study that attributed only 18% of such costs to
administrative fees, or 0.05% to 0.07% of total assets).
33
   Prior to 2014, multiple employer plans were not required identify all contributing employers in
their annual Department of Labor reports. For 2012 and 2013, the Plan stated only an estimate of
the total number.

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Illustration 2: The Plan’s Rising Administrative Costs, 2013-2017

                        Administrative
                                                 Per Participant35         Per Cooperative
                          Costs34
         2017            $26,541,793                   $404                    $29,957
         2016            $23,365,121                   $361                    $25,846
         2015            $20,044,330                   $314                    $22,700
         2014            $18,552,734                   $296                    $20,752
         2013            $16,472,514                   $265                  ≥ $18,024

       49.      The extra fees were not justified by extra service demands. While a small increase

in Plan participants may have warranted a like increase in total expenses, the per participant rate

should not have increased (and likely should have decreased consistent with market trends). Yet,

the Plan’s per participant rate increased by 50%. And although the number of participants is the

most important factor used to determine appropriate administrative fees, the number of

cooperatives served by the Plan also did not justify the extra fees. Indeed, the number of distinct

cooperatives remained about the same each year. Moreover, the NTCA 401(k) plan’s

administrative costs were only around $4,000 per cooperative during this time, around 4-7 times

less than the Plan.

       50.      Fiduciaries of other large defined contribution plans have been cutting fees by

benchmarking fees, re-negotiating contracts, and placing services out for competitive bids.

Defendants’ failure to control costs or strategically outsource administrative servicing of the Plan

34
   This column represents the “[t]otal administrative expenses” reported on Schedule H, Part
II(i)(5) of the Plan’s annual reports, minus the portion categorized as “investment advisory and
management fees” (see Part II(i)(3)). An alternative method of calculating Plan administration
costs—adding all direct, non-investment service provider payments reported on Schedule C of
the Plan’s annual reports—shows similar totals and a similar escalation in fees: 2013:
$16,761,930; 2014: $20,621,536; 2015: $22,002,527; 2016: $25,732,184; 2017; $26,616,353.
35
   To estimate the per-participant cost of administering the Plan over the course of each year, this
chart uses the average of the year-start and year-end participant totals (see supra, Illustration 1).

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demonstrate either that they failed to investigate cost-saving options with the care and diligence

that a prudent fiduciary would have employed, or that they refused to consider any such options

because it would have been contrary to their own financial incentives. Indeed, NTCA outsourced

recordkeeping functions for its 401(k) plan while retaining other services in-house, and the

NTCA plan costs far less than the Plan (see ¶¶ 42 & 49, supra).36 Meanwhile, costs for Plan

participants soared as Defendants idly charged the same percentage rate to a changing Plan and

retained nearly all services in-house. This was imprudent, disloyal, or both.

       DEFENDANTS USED THE EXTRA FEES FROM THE PLAN FOR THEIR OWN BENEFIT
       51.     Defendants have benefitted from their own inaction. As extra fees were drawn

from the Plan as a result of rising asset values and Defendants’ failure to make a corresponding

adjustment to the administrative expense ratio, Defendants received and retained the largest

share of the surge in fees. As the next illustration shows, NRECA’s own compensation has

increased year after year in total and on a per-participant and per-cooperative basis:

Illustration 3: NRECA’s Rising Compensation from the Plan, 2013-2017

                               NRECA’s
                                                       Per Participant          Per Cooperative
                             Compensation
              2017            $20,880,708                   $318                    $23,567
              2016            $18,990,578                   $294                    $21,007
              2015            $17,038,135                   $267                    $19,296
              2014            $15,182,085                   $252                    $17,787
              2013            $14,157,880                   $228                  ≥ $15,224




36
   Administrative services performed by the NTCA’s outside vendor appear to have been
included in the NTCA plan’s investment fund fees. To the extent part of those fees may be
classified as administrative expenses, the NTCA plan’s total administrative costs still did not
come close to reaching the fee levels paid by NRECA since 2013, whether on a per-participant
or per-cooperative basis.

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       52.     Defendants did more than increase NRECA’s own compensation from the Plan.

As the next illustration shows, Defendants also increased the Plan’s relative share of NRECA’s

total expenses compared to other benefits plans, placing a higher burden on Plan participants and

relieving NRECA member employers of their burden to generate and maintain appropriate

funding for the other plans’ expenses. This was improper. Defendants were obligated to charge

the Plan solely for the benefit the Plan and its participants, and were prohibited from using the

Plan to defray other obligations.

Illustration 4: The Plan’s Rising Share of NRECA’s Compensation

                 NRECA’s Total
                                                               Traditional         H&W Plan’s
                Compensation from      The Plan’s Share
                                                             Pension’s Share         Share
                   All Plans
       2017                              $20,880,708          $13,309,000           $8,593,000
                    $42,872,708
                                            (49%)                (31%)                (20%)
       2016                              $18,990,578          $13,873,000           $9,266,000
                    $42,129,578
                                            (45%)                (33%)                (22%)
       2015                              $17,038,135          $14,334,000          $11,902,000
                    $43,274,135
                                            (39%)                (33%)                (28%)
       2014                              $15,182,085          $12,899,000          $16,820,000
                    $45,531,085
                                            (35%)                (28%)                (37%)
       2013                              $14,157,880          $13,253,000          $11,752,000
                    $39,162,880
                                            (36%)                (34%)                 (30%)

       53.     In contrast to the Plan, NRECA’s traditional pension plan and health and welfare

plan paid steady or declining amounts for NRECA’s in-house services from 2013 to 2017. In

effect, Defendants used the extra fees drawn from the Plan (which were borne by participants,

i.e. current and former employees of the member employers) to reduce the expenses of the other

benefit plans (which were the responsibility of NRECA’s member employers themselves).

       54.     Several additional facts raise further alarm. With regard to outside service

provider fees, Defendants split the bills between plans. While this is not per se imprudent, split

bills are problematic where the bill is not split properly. Defendants had the ability to overstate

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the relative contribution of a service provider to the Plan versus the traditional pension plan or

health and welfare plan, thereby charging more to the Plan than was reasonable or prudent (while

relieving NRECA member employers’ potential funding liabilities to the other plans). The

available data suggests this is precisely what happened. As shown by the illustration below, the

Plan has contributed to a higher number of split vendor charges, and paid significantly more in

total in connection with split bills, since 2013:

Illustration 5: The Plan’s Payment of Outside Administrative Services Provider Costs Split
                Between Plans
                          Number of Split Administrative             Total Plan Payments
                            Bills Joined by The Plan             on Split Administrative Bills
          2017                         41                                 $4,331,566
          2016                           40                               $5,563,656
          2015                           37                               $3,355,332
          2014                           32                               $3,167,925
          2013                           28                               $1,809,324

       55.     NRECA’s annual financial report for 2017 also suggests that Defendants used the

 Plan’s escalating fees for the benefit of NRECA and its member employers. The report

 identifies a total surplus of $4.5 million within “cost reimbursable” programs, an accounting

 unit that consists primarily of NRECA’s benefits plans. Although the financials do not attribute

 the $4.5 million surplus to a particular source or sources, it is reasonable to infer that the Plan’s

 record-high fees contributed. Yet, the report states that NRECA directed the entire $4.5 million

 surplus to the traditional pension plan (for which NRECA’s member employers was financially

 responsible). This re-allocation is another way that Defendants used the Plan’s fee excesses for

 the financial benefit of NRECA’s member employers, at the expense of their employees.




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                   DEFENDANTS ARE REPEATING A PRIOR PATTERN OF ABUSE

       56.   Defendants were cited for fee abuses in the past. On July 17, 2009, the Department

 of Labor made multiple findings against Defendants regarding improper conduct with respect to

 the Plan, including that “the Plan assets paid to NRECA exceeded their direct costs”.

       57.   The Department of Labor appears to have disputed the propriety and sum of

 multiple expenses that Defendants withdrew from the Plan, including payment of “rent and

 Association overhead”, “settlor expenses”, “per diem expenses”, “IT projects”, “Board ...

 compensation”, and expenses billed over the “direct” cost to the Plan.37 The findings also

 identified that, between 2003 and 2007, the share of NRECA costs borne by the Plan versus

 other plans increased.

       58.   Defendants settled the Department of Labor’s allegations. An agreement was

 executed on July 2, 2012. The agreement was not made public.38 The Department of Labor

 instead issued a short press release broadly summarizing certain terms. NRECA reimbursed the

 Plan $4.5 million, paid $2.7 million in civil penalties, and agreed to defray $22.7 million in

 costs across all benefits plan over the next five years.

       59.   The press release also noted that Defendants would hire an independent fiduciary to

 “determine whether the use of NRECA to provide administrative services to the plans is prudent

 and reasonable, determine the categories of direct expenses that NRECA may charge to the

37
   The Department of Labor did not publish its findings. Plaintiffs’ counsel submitted a FOIA
request regarding the Plan in November 2018, and the Department of Labor did not produce its
findings until August 2019, after this action was filed. Moreover, the findings are more than 50%
redacted at the insistence of NRECA. The headings and text released show that the Department
of Labor had substantial concerns regarding the Plan’s payments to NRECA, but much of the
report remains hidden.
38
   The Department of Labor released only the title, date, and signatories of the settlement in its
FOIA response, citing NRECA’s confidentiality request as a basis to withhold the remainder.
Defendants then filed select documents related to the settlement under seal in their response to
this action. See ECF No. 38.

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 plans and the methods of calculating those expenses, and monitor NRECA’s compliance with

 certain terms of the agreement.”

       60.    The Plan’s administrative costs decreased during the Department of Labor’s pre-

 settlement investigation and negotiation with Defendants, and reached a nadir in the year after

 the settlement. However, since the settlement, the Plan’s administrative costs have increased

 each year. By 2017, the Plan’s administrative costs eclipsed their 2008 level—the rate before

 the Department of Labor made its findings regarding excessive costs.

 Illustration 6: Total Administrative Costs Per Plan Participant, 2008-2017




       61.    The same pattern repeated in regard to NRECA’s compensation. The total amount

withdrawn by NRECA from the Plan decreased each year between the Department of Labor’s

2009 findings and the settlement. After the settlement, NRECA collected more compensation

from the Plan each year. In 2017, NRECA surpassed its compensation level prior the Department

of Labor’s initial findings of excessive costs, and exceeded $20 million in a year for the first time

since 2008.




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 Illustration 7: NRECA’s Compensation from the Plan, 2008-2017




       62.    While NRECA withholds records related to the settlement and independent

 oversight,39 it is reasonable to infer based on the information available that any independent

 oversight was deficient. The Plan returned to its condition in 2008 (and worse), before the

 Department of Labor’s findings. Defendants’ remedial efforts in relation to the settlement

 therefore appear to have been temporary and inadequate.

             PLAINTIFFS LACKED KNOWLEDGE OF DEFENDANTS’ ERISA VIOLATIONS

       63.     Plaintiffs did not have knowledge of all material facts (including, but not limited

to, pricing trends in defined contribution plans, the factors relevant in determining appropriate

administrative fees in defined contribution plans, year-by-year changes in Plan administrative

fees on a per participant or per cooperative basis, year-by-year changes in the share of NRECA’s

internal costs charged to the Plan versus other plans, NRECA’s interest in shifting costs to the

Plan, and the number and dollar amount of service provider charges split between the Plan and

other plans), necessary to understand that Defendants breached their fiduciary duties and

39
  The limited documents that Defendants have filed with the Court or authorized the Department
of Labor to release indicate that there are substantial additional records that would need to be
reviewed before making a determination regarding the sufficiency of Defendants’ fiduciary
conduct after the settlement.

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engaged in other unlawful conduct in violation of ERISA until recently, shortly before this action

was filed. Further, Plaintiffs do not have actual knowledge of the specifics of the decision-

making processes behind Defendants’ management of the Plans’ administrative functions and

Defendants’ overall management of the benefit plans because such information is exclusively in

the possession of Defendants prior to discovery. For purposes of this Complaint, Plaintiffs have

drawn reasonable inferences regarding these processes based upon (among other things) the facts

set forth above.

                              CLASS ACTION ALLEGATIONS

       64.     29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of a 401(k) Plan

to bring an action individually on behalf of the Plan to obtain for the Plan the remedies provided

by 29 U.S.C. § 1109(a). Plaintiffs seek certification of this action as a class action pursuant to

this statutory provision and Fed. R. Civ. P. 23.

       65.     Plaintiffs assert their claims in Counts I–V on behalf of a class of participants and

beneficiaries of the Plan defined as follows:40

               All participants and beneficiaries of the NRECA 401(k) Pension Plan at
               any time on or after July 25, 2013, excluding members of the Insurance
               and Financial Services Committee and any other NRECA employees with
               discretionary responsibility for the Plan’s administrative functions or
               costs.

       66.     Numerosity: The Class is so numerous that joinder of all Class members is

impracticable. The Plan had more than 60,000 participants with account balances during the

applicable period.

       67.     Typicality:    Plaintiffs’ claims are typical of the Class members’ claims. Like

other Class members, Plaintiffs are participants in the Plan and suffered injuries as a result of

40
  Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion
for class certification or subsequent pleadings in this action.

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Defendants’ mismanagement of the Plan and failure to properly monitor and control Plan costs.

Defendants treated Plaintiffs consistently with other Class members with regard to the Plan.

Defendants’ imprudent and disloyal decisions affected all Class members similarly.

       68.    Adequacy:      Plaintiffs will fairly and adequately protect the interests of the

Class. Plaintiffs’ interests are aligned with the Class that they seek to represent, and have

retained counsel experienced in complex class action litigation, including ERISA litigation.

Plaintiffs do not have any conflicts of interest with any Class members that would impair or

impede their ability to represent such Class members.

       69.    Commonality: Common questions of law and fact exist as to all Class members

and predominate over any questions solely affecting individual Class members, including but not

limited to:

              a. Whether Defendants are fiduciaries of the Plan;

              b. The scope of each Defendant’s fiduciary duties;

              c. Whether Defendants breached their fiduciary duties by engaging in the

                  conduct described herein;

              d. Whether Defendants engaged in prohibited transactions by engaging in the

                  conduct described herein;

              e. Whether NRECA breached its duty to monitor the Committee;

              f. Whether Defendants are subject to co-fiduciary liability under ERISA;

              g. The proper form of equitable and injunctive relief; and

              h. The proper measure of monetary relief.

       70.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) because

prosecuting separate actions against Defendants would create a risk of inconsistent or varying



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adjudications with respect to individual Class members that would establish incompatible

standards of conduct for Defendants.

       71.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(1)(B) because

adjudications with respect to individual Class members, as a practical matter, would be

dispositive of the interests of other persons not parties to the individual adjudications or would

substantially impair or impede their ability to protect their interests. Any award of equitable

relief by the Court, such as removal or replacement of a fiduciary of the Plan, would be

dispositive of non-party participants’ interests. The accounting and restoration of the property of

the Plan that would be required under 29 U.S.C. §§ 1109 and 1132 would be similarly

dispositive of the interests of Class members.

       72.     Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3) because

questions of law and fact common to the Class predominate over any questions affecting only

individual Class members, and because a class action is superior to other available methods for

the fair and efficient adjudication of this litigation. Defendants’ conduct as described in this

Complaint applied uniformly to all members of the Class. Class members do not have an interest

in pursuing separate actions against Defendants, as the amount of each Class member’s

individual claims is relatively small compared to the expense and burden of individual

prosecution, and Plaintiffs are unaware of any similar claims brought against Defendants by any

Class members on an individual basis. Class certification also will obviate the need for unduly

duplicative litigation that might result in inconsistent judgments concerning Defendants’

practices. Moreover, management of this action as a class action will not present any likely

difficulties. In the interests of justice and judicial efficiency, it would be desirable to concentrate

the litigation of all Class members’ claims in a single forum.



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                                         COUNT I
                          Breach of Duties of Loyalty and Prudence
                                 29 U.S.C. § 1104(a)(1)(A)-(B)

       73.     As alleged through this Complaint, Defendants are fiduciaries of the Plan.

       74.     ERISA imposes strict fiduciary duties of prudence and loyalty upon Defendants in

their administration of Plan, and required them to closely monitor and control Plan expenses to

ensure that such expenses were reasonable and appropriate. See 29 U.S.C. § 1104.

       75.     Defendants have breached these duties, and continue to breach these duties, by

engaging in the conduct described herein.

       76.     Defendants engaged in imprudent and disloyal conduct in violation of ERISA by

failing to take appropriate steps to manage and control the Plan’s administrative expenses in the

interest of Plan participants, and by using charges to the Plan to benefit NRECA and its member

employers. Among other things, Defendants caused the Plan to pay higher-than-market fees for

administrative services, failed to restrain escalating fees, and used the extra fees for NRECA’s

benefit in various ways, including increasing NRECA’s compensation, decreasing the amount

NRECA’ member employers had to contribute to other benefits programs’ costs, and causing the

Plan to pay more than its fair share for outside vendors shared between other benefit plans.

       77.     As a consequence of Defendants’ breaches of fiduciary duty, the Plan has suffered

millions of dollars in losses due to excessive, unreasonable, and inappropriate fees. Defendants

are liable to make good to the Plan all losses suffered as a result of Defendants’ fiduciary

breaches, and to disgorge all profits resulting from Defendants’ unlawful conduct. In addition,

the Plan and Plan participants are entitled to further equitable and injunctive relief to redress

Defendants’ fiduciary breaches.




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                                         COUNT II
                        Prohibited Transactions with a Party in Interest
                                      29 U.S.C. § 1106(a)(1)
        78.     As alleged throughout this Complaint, NRECA is a fiduciary of the Plan, a

service provider to the Plan, the plan sponsor, a plan employer, and an employee organization

whose members are covered by the Plan. NRECA is therefore a party in interest with respect to

the Plan under 29 U.S.C. § 1002(14)(A)-(D).

        79.     As described throughout the Complaint, Defendants have caused the Plan to

engage in transactions with NRECA for the benefit of NRECA. These transactions took place on

a periodic basis (at least as frequently as quarterly) throughout the statutory period as Defendants

withdrew and retained fees from the Plan.

        80.     These transactions constituted a direct or indirect transfer of assets of the Plan to a

party in interest, a transfer of assets of the Plan for use by a party in interest, and a transfer of the

assets of the Plan for the benefit of a party in interest, in violation of 29 U.S.C. § 1106(a)(1)(D).

        81.     In addition, these transactions also involved the furnishing of services between the

Plan and a party in interest, in violation of 29 U.S.C. § 1106(a)(1)(D).

        82.     These transactions were unlawful under ERISA, and the amounts paid to NRECA

were excessive and unreasonable. As a direct and proximate result of these prohibited

transactions, Plan participants directly or indirectly paid millions of dollars in improper fees to

NRECA. Defendants are liable to make good to the Plan all losses suffered as a result of these

prohibited transactions, and to disgorge all profits associated with their unlawful conduct. In

addition, the Plan and Plan participants are entitled to further equitable and injunctive relief on

account of these prohibited transactions.




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                                         COUNT III
                           Prohibited Transactions with a Fiduciary
                                       29 U.S.C. § 1106(b)
       83.     As alleged throughout this Complaint, NRECA is a fiduciary of the Plan.

       84.     Acting in a fiduciary capacity, Defendants improperly directed assets of the Plan

to NRECA for its own benefit. These transactions occurred on a periodic basis throughout the

class period (at least as frequently as quarterly) as Defendants withdrew Plan assets and placed

them in NRECA’s own accounts.

       85.     These transactions were prohibited under ERISA, and the amounts paid to

NRECA were excessive and unreasonable. NRECA dealt with the Plan’s assets in its own

interest and for its own accounts, in violation of 29 U.S.C. § 1106(b)(1), and received

consideration for its personal accounts in connection with transactions involving assets of the

Plan, in violation of 29 U.S.C. § 1106(b)(3).

       86.     As a direct and proximate result of these prohibited transactions, the Plan directly

or indirectly paid millions of dollars in improper fees to NRECA. Defendants are liable to make

good to the Plan all losses suffered as a result of these prohibited transactions, and to disgorge all

profits associated with their unlawful conduct. In addition, the Plan and Plan participants are

entitled to further equitable and injunctive relief on account of these prohibited transactions.

                                           COUNT IV
                                 Failure to Monitor Fiduciaries
                                     29 U.S.C. § 1132(a)(3)

       87.     As alleged throughout this Complaint, Defendants are fiduciaries of the Plan.

       88.     In its fiduciary capacity, NRECA organized the Committee, delegated

discretionary control of Plan administrative functions to the Committee, and appointed

Committee members.



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        89.    NRECA had a duty to monitor the performance of its fiduciary appointees under

ERISA, and to ensure that its appointed fiduciaries were performing their fiduciary obligations in

compliance with ERISA. See 29 C.F.R. § 2509.75-8, FR-17.

        90.    NRECA breached its fiduciary monitoring duties by, among other things:

               a) Failing to monitor and evaluate the performance of the Committee and its

                   members, or have a system in place for doing so, standing idly by as the Plan

                   suffered substantial losses as a result of the imprudent actions and omissions

                   of the Committee;

               b) Failing to monitor the Committee’s fiduciary processes, which would have

                   alerted a prudent fiduciary to the breaches of fiduciary duties described

                   herein;

               c) Failing to implement a system to avoid conflicts of interest that tainted the

                   decisions made by the Committee; and

               d) Failing to remove fiduciaries whose performance was inadequate in that they

                   failed to properly monitor and control Plan expenses, to the detriment of the

                   Plan and participants’ retirement savings.

        91.    As a consequence of the foregoing breaches of the duty to monitor, the Plan

suffered millions of dollars in losses per year due to excessive, unreasonable, and inappropriate

fees.

        92.    Pursuant to 29 U.S.C. § 1109(a), 1132(a)(2), and 1132(a)(3), NRECA is liable to

restore to the Plan all losses suffered as a result of NRECA’s failure to properly monitor the

Committee and its members, and must disgorge all profits resulting from its failure to monitor. In

addition, the Plan and Plan participants are entitled to further equitable and injunctive relief.



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                                             COUNT V
                                        Co-Fiduciary Liability
                                         29 U.S.C. § 1105(a)
          93.      As alleged throughout this Complaint, Defendants are co-fiduciaries of the Plan.

          94.      Defendants worked closely together on matters relating to the Plan. Senior

NRECA officials served on the Committee, and the Committee appointed NRECA employees to

carry out administrative functions.

          95.      During the relevant time, each Defendant knew of the actions and omissions of

the other Defendant that gave rise to the breaches of fiduciary duty alleged in this Complaint,

each Defendant enabled the breaches of the other Defendant through its own fiduciary breaches,

and each Defendant failed to remedy the breaches of the other Defendant. Each Defendant is

therefore liable as a co-fiduciary for the breaches of fiduciary duty committed by the other

Defendant.

          96.       As a consequence of each Defendant’s wrongful acts and failures to act, the Plan

has suffered millions of dollars in losses due to excessive, unreasonable, and inappropriate fees.

Defendants are liable to make good to the Plan all such losses, and to disgorge all profits

resulting from Defendants’ unlawful conduct, in addition to further equitable and injunctive

relief.

                                       PRAYER FOR RELIEF

          97.      Wherefore, Plaintiffs, as representatives of the Class and on behalf of the Plan,

pray for relief as follows:

                a. A determination that this action may proceed as a class action under Federal Rule
                   of Civil Procedure 23;
                b. Designation of Plaintiffs as Class Representatives and designation of Plaintiffs’
                   counsel as Class Counsel;
                c. A declaration that Defendants have breached their fiduciary duties under ERISA;

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          d. A declaration that Defendants violated 29 U.S.C. § 1106 by engaging in
             prohibited transactions;
          e. An order compelling Defendants to make good all losses incurred as a result of
             the breaches of fiduciary duties and prohibited transactions described above;
          f. An accounting of profits earned by NRECA in connection with the breaches of
             fiduciary duties and prohibited transactions described above, and a subsequent
             order requiring NRECA to disgorge all such profits received;
          g. An order enjoining Defendants from any further violations of ERISA;
          h. Other equitable relief to redress the practices described herein and to enforce the
             provisions of ERISA;
          i. An award of pre-judgment interest;
          j. An award of attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g) and/or the
             common fund doctrine; and
          k. Such other and further relief as the Court deems just and equitable.



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                                   CERTIFICATE OF SERVICE

        I hereby certify that, on October 11, 2019, I electronically filed the foregoing Amended

Complaint with the Clerk of Court using the CM/ECF system, which will send notice of such

filing to all counsel of record.

Dated: October 11, 2019                     /s/ Gregg C. Greenberg
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